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                   UNITED STATES BANKRUPTCY COURT
             NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 IN RE:                                            * CASE NO. 19-59740-wlh
                                                   *
 Keidra Aiesha Ali-Gadson                          * CHAPTER 13
 AKA Keidra Aiesha Gadson; AKA Keidra              *
 Aisha Sampson; AKA Keidra Al-Gadson               *
                                                   *
       Debtor.                                     *


                                   CERTIFICATE OF SERVICE
       I certify that I served Debtor with a true and correct copy of the within and foregoing
“Amendment to Chapter 13 Schedules C, I, J, Summary of Schedules and Statistical Summary”
by depositing the same in the United States Mail with adequate postage affixed to ensure delivery
and addressed as follows:
Keidra Aiesha Ali-Gadson
1691 Tree Line Rd
Lithonia GA 30058

       I further certify that Nancy J Whaley, the Chapter 13 Trustee, was served via the ECF
electronic mail/noticing system.
                                             DATE: 8/12/2019
                                             /s/
                                             Thomas Reichard, GA Bar No. 150822
                                             Attorney for Debtors
Clark & Washington, LLC
3300 Northeast Expressway
Building 3
Atlanta GA 30341
Phone: 404-522-2222
Fax: 770-220-0685
Email: ecfnotices@cw13.com
              Case 19-59740-wlh                     Doc 21            Filed 08/12/19 Entered 08/12/19 17:34:18                            Desc Main
                                                                     Document      Page 2 of 10
 Fill in this information to identify your case:

 Debtor 1                 Keidra Aiesha Ali-Gadson
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 Case number           19-59740-wlh
 (if known)
                                                                                                                                          Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      1691 Tree Line Rd Lithonia, GA 30058                           $105,903.00                               $18,298.00      O.C.G.A. § 44-13-100(a)(1)
      DeKalb County
      Line from Schedule A/B: 1.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      2016 Kia Sorento 110000 miles                                   $13,475.00                                 $5,000.00     O.C.G.A. § 44-13-100(a)(3)
      Line from Schedule A/B: 3.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      4bdr, 1 lvr, 1dr, washer and dryer                               $2,000.00                                 $2,000.00     O.C.G.A. § 44-13-100(a)(4)
      Line from Schedule A/B: 6.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      6 tvs, 1 desktop, 2 Ipads, 1 DVD                                    $500.00                                  $500.00     O.C.G.A. § 44-13-100(a)(4)
      palyer, 1 Xbox 360, cellphone
      Line from Schedule A/B: 7.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      Clothes and Shoes                                                   $150.00                                  $150.00     O.C.G.A. § 44-13-100(a)(4)
      Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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            Case 19-59740-wlh                       Doc 21            Filed 08/12/19 Entered 08/12/19 17:34:18                               Desc Main
                                                                     Document      Page 3 of 10
 Debtor 1    Keidra Aiesha Ali-Gadson                                                                    Case number (if known)     19-59740-wlh
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Costume                                                              $70.00                                    $70.00        O.C.G.A. § 44-13-100(a)(5)
     Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     2 dogs                                                               $70.00                                    $70.00        O.C.G.A. § 44-13-100(a)(4)
     Line from Schedule A/B: 13.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Chase                                                  $1,400.00                                  $1,400.00        O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 17.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Navey Federal Credit                                   $2,500.00                                  $2,500.00        O.C.G.A. § 44-13-100(a)(6)
     Union
     Line from Schedule A/B: 17.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: USAA                                                         $1.93                                     $1.93       O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 17.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Debtors's husband owe her $500.                                     $500.00                                   $500.00        O.C.G.A. § 44-13-100(a)(6)
     Lee R Samson
     Line from Schedule A/B: 30.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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Fill in this information to identify your case:

Debtor 1                      Keidra Aiesha Ali-Gadson

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF GEORGIA - ATLANTA
                                              DIVISION

Case number               19-59740-wlh                                                                  Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
                                                                      Not employed                                Not employed
       information about additional
       employers.
                                             Occupation            Housekeeping
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Huffmaster Management Inc

       Occupation may include student        Employer's address
                                                                   1055 W Maple Rd
       or homemaker, if it applies.
                                                                   Clawson, MI 48017

                                             How long employed there?         Since 03/2019

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $         5,018.00        $             N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      5,018.00               $      N/A




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
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Debtor 1   Keidra Aiesha Ali-Gadson                                                              Case number (if known)    19-59740-wlh


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      5,018.00       $             N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $      1,155.00       $               N/A
     5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00       $               N/A
     5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00       $               N/A
     5d.    Required repayments of retirement fund loans                                  5d.        $          0.00       $               N/A
     5e.    Insurance                                                                     5e.        $          0.00       $               N/A
     5f.    Domestic support obligations                                                  5f.        $          0.00       $               N/A
     5g.    Union dues                                                                    5g.        $          0.00       $               N/A
     5h.    Other deductions. Specify:                                                    5h.+       $          0.00 +     $               N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,155.00       $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          3,863.00       $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $               N/A
     8b. Interest and dividends                                                           8b.        $              0.00   $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $        513.00       $               N/A
     8d. Unemployment compensation                                                        8d.        $          0.00       $               N/A
     8e. Social Security                                                                  8e.        $          0.00       $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $               N/A
     8g. Pension or retirement income                                                     8g. $                     0.00   $               N/A
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $               N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            513.00       $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              4,376.00 + $           N/A = $          4,376.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                 0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $         4,376.00
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Food stamps will end now that Debtor is working




Official Form 106I                                                     Schedule I: Your Income                                                    page 2
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Fill in this information to identify your case:

Debtor 1                 Keidra Aiesha Ali-Gadson                                                          Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                             A supplement showing postpetition chapter
(Spouse, if filing)                                                                                                  13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF GEORGIA -                                             MM / DD / YYYY
                                          ATLANTA DIVISION

Case number           19-59740-wlh
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s       Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age               live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Daughter                             14                   Yes
                                                                                                                                             No
                                                                                   Son                                  17                   Yes
                                                                                                                                             No
                                                                                   Son                                  18                   Yes
                                                                                                                                             No
                                                                                   Son                                  19                   Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                               683.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                               0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                               0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                              50.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                               0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                               0.00


Official Form 106J                                                   Schedule J: Your Expenses                                                             page 1
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Debtor 1     Keidra Aiesha Ali-Gadson                                                                  Case number (if known)      19-59740-wlh

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                375.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                130.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                  0.00
      6d. Other. Specify: Cellular Phone                                                     6d. $                                                 70.00
7.    Food and housekeeping supplies                                                           7. $                                             1,214.00
8.    Childcare and children’s education costs                                                 8. $                                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               244.00
10.   Personal care products and services                                                    10. $                                                244.00
11.   Medical and dental expenses                                                            11. $                                                200.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 455.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  161.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       3,826.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       3,826.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               4,376.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              3,826.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 550.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1                   Keidra Aiesha Ali-Gadson
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 Case number           19-59740-wlh
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             105,903.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              20,666.93

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             126,569.93

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             109,760.60

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             123,511.00


                                                                                                                                     Your total liabilities $               233,271.60


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                4,376.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                3,826.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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 Debtor 1      Keidra Aiesha Ali-Gadson                                                   Case number (if known) 19-59740-wlh

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $            3,080.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                    page 2 of 2
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                    UNITED STATES BANKRUPTCY COURT
             NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 IN RE:                                            * CASE NO. 19-59740-wlh
                                                   *
 Keidra Aiesha Ali-Gadson                          * CHAPTER 13
 AKA Keidra Aiesha Gadson; AKA Keidra              *
 Aisha Sampson; AKA Keidra Al-Gadson               *
                                                   *
       Debtor.                                     *



             UNSWORN DECLARATION UNDER PENALTY OF PERJURY


       I, Keidra Aiesha Ali-Gadson, hereby certify under penalty of perjury that I have direct
knowledge of the information in the attached pleading and it is true and correct to my best belief.



       Signed: s/                                                    Date: 8/12/2019
               Keidra Aiesha Ali-Gadson
